      Case 1:20-cv-00237-KK-SCY Document 181 Filed 07/06/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

v.                                                           Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

      ORDER GRANTING SECOND JOINT MOTION TO EXTEND DEADLINES

THIS MATTER having come before the Court on the Joint Motion to Extend Deadlines

(“Motion”). [D.E. 180]. This Court having considered the Motion and being otherwise fully

advised in the premises and for good cause shown, FINDS that it is well taken.

       IT IS HEREBY ORDERED that: (A) the parties shall have until July 13, 2021 to file any

motions to compel regarding (1) Plaintiff’s April 22, 2021 responses to Meow Wolf, Inc.’s

discovery requests, and (2) Defendants Meow Wolf, Inc. and Vince Kadlubek’s May 6, 2021

Responses to Plaintiff Lauren Oliver’s discovery requests.

Dated: July 6, 2021




                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge
